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UNITED STATES DISTRICT COURT JUN 21 2024

| Heidi D. C C
for the U.S. DISTRIET COURT

Northern District of Oklahoma
In the Matter of the Search of L . UZo ee ‘>
A black Apple iPhone SE, S/N: JYRL4WFOQOR and a black Case No. Z! VWicy>
Lenovo ThinkPad computer, S/N: PF-2L53AR, Currently
Stored at the Tulsa Police Department Computer
Forensics Lab located at 3245 FE 3th PL, Tulsa, Oklahoma

APPLICATION FOR A SEARCH WARRANT

1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment “A”

located in the Northern District of Oklahoma , there is now concealed (identify the person or describe the property to be
seized):

See Attachment “B”

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
M evidence of a crime;
M contraband, fruits of crime, or other items illegally possessed;
M1 property designed for use, intended for use, or used in committing a crime;
C a person to be arrested or a person who is unlawfully restrained.
The search is related to a violation of:
Code Section Offense Description

18 U.S.C. §§ 2252(a)(2) & (b)(1) Distribution and receipt of Child Pornography

18 U.S.C. §§ 2252(a)(4)(B) & Possession of or Access with Intent to View Child Pornography
(b)(2)

The application is based on these facts:
See Affidavit of Eric Leverington, TFO, HSI, attached hereto.

I Continued on the attached sheet.

Delayed notice of days (give exact ending date if more than 30 days: _...._) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet — nr
fd 6. £. en

AI

Applicant's signature

Eric Leverington, TFO, HSI

Printed name and title

Subscribed and sworn to by phone.

Date: _(,| ar lay Genel, ~~

's signature

City and state: Tulsa, Oklahoma SUSAN E. HUNTSMAN, U.S. Magistrate Judge

Printed name and title

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

In the Matter of the Search of
A black Apple iPhone SE, SIN:
JYRL4WFOQR and a black Lenovo Case No.
ThinkPad computer, S/N: PF-
2LS3AR, Currently Stored at the
Tulsa Police Department Computer
Forensics Lab located at 3245 E 5™
PL, Tulsa, Oklahoma

Affidavit in Support of an Application
Under Rule 41 for a Warrant to Search and Seize

I, Eric Leverington, being first duly sworn under oath, depose and state:

Introduction and Agent Background
1. I make this affidavit in support of an application under Rule 41 of the
Federal Rules of Criminal Procedure for a warrant authorizing the
examination of property-black Apple iPhone SE, S/N: JYRL4WFOQR and
black Lenovo ThinkPad computer S/N: PF-2L53AR which are currently in
law enforcement possession, and the extraction from that property of
electronically stored information described in Attachment B.
2. lam a Task Force Officer with Homeland Security Investigations (HSI)
and have been since February 2019. I am currently assigned to the Tulsa

Resident Agency of the Dallas, Texas field office. In addition to becoming a

Task Force
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Officer with Homeland Security Investigations (HSI), I have been employed as a
Police Officer with the Tulsa, Oklahoma Police Department since July 6, 1998. I
am currently assigned to the Tulsa Police Department Sexual Predator Digital
Evidence Recovery Unit with a primary focus on child exploitation
investigations. Since becoming a Task Force Officer with HSI, I have
investigated violations of federal law, to include federal violations concerning
child pornography and the sexual exploitation of children. I have gained
experience through training in classes and work related to conducting these
types of investigations. Further, as a Homeland Security Investigations Task
Force Officer, I am authorized to investigate violations of laws of the United
States and to execute warrants issued under the authority of the United States.
3. As part of my duties as a HSI Task Force Officer, I investigate criminal
violations relating to child pornography, including Advertising to Receive,
Exchange, Produce, Display, Distribute, and Reproduce child pornography,
and the production, transportation, distribution, receipt, and possession of
child pornography, in violation of 18 U.S.C. §§ 2551(d)(), 2251A(b), and 2252.
I have received training in the areas of child pornography and child
exploitation and have observed and reviewed numerous examples of child
pornography, as defined in 18 U.S.C. § 2256, in all forms of media. I have been
involved in several child pornography investigations and am familiar with the

tactics used by individuals who collect and distribute child pornographic

material.
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4. 1 am familiar with the facts and circumstances of this investigation. The
facts set forth in this affidavit are based on my personal observations, knowledge
obtained from other law enforcement officers, my review of documents related to
this investigation, conversations with others who have personal knowledge of the
events and circumstances described herein, and a review of open-source
information including information available on the Internet. Because this
affidavit is submitted for the limited purpose of establishing probable cause in
support of the application for a search warrant, it does not set forth each and
every fact I or others have learned during the course of this investigation.

5. Based on my training, experience, and the facts set forth in this affidavit, there
is probable cause to believe that evidence of violations of 18 U.S.C. §§ 2252(a)(2)
& (b)(1) - Distribution and receipt of Child Pornography, and 18 U.S.C. §§
2252(a)(4)(B) & (b)(2) - Possession of or Access with Intent to View Child
Pornography will be located in the electronically stored information described in

Attachment B and is recorded on the Devices described in Attachment A.

Jurisdiction
6. "[A] warrant may be issued to search for and seize any property that
constitutes evidence ofa criminal offense in violation of the laws of the
United States." 18 U.S.C. § 3103a.

7. The requested search isrelated to the following violations of federal law:
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a. Title 18, United States Code, Sections 2252(a)(2) and (b)(1)
prohibit any person from knowingly receiving or distributing, or
attempting or conspiring to receive or distribute, any visual depiction
that has been mailed, shipped, or transported using any means or
facility of interstate or foreign commerce or in or affecting interstate
or foreign commerce, or which was produced using materials which
have been mailed or so shipped or transported, by any means
including by computer, ifthe production ofsuch visual depiction
involved the use of a minor engaging insexually explicit conduct
and such visual depiction is of such conduct; and

b. Title 18, United States Code, Sections 2252(a)(4)(B) and (b)(2)
prohibit any person from knowingly possessing or accessing with the
intent to view, or attempting or conspiring to possess or access with
the intent to view, one or more books, magazines, periodicals, films,
video tapes, or other matter which contain any visual depiction that
has been mailed, or has been shipped or transported using any means
or facility ofinterstate or foreign commerce or in or affecting interstate
or foreign commerce, or which was produced using materials which
have been mailed or so shipped or transported, by any means
including by computer, if the production of such visual depiction
involved the use of a minor engaging in sexually explicit conduct and
such visual depiction is of such conduct.

8. Venue is proper because the person or property described in this affidavit is

located within the Northern District of Oklahoma. Fed. R. Crim. P. 41(b)().

Identification of the Device to be Examined
9. The property to be searched area black Apple iPhone SE S/N:
JYRL4WFOQR and black Lenovo ThinkPad computer S/N: PF-2L53AR,
hereinafter the "Devices." The Devices arecurrently located at the Tulsa Police
Department Computer Forensics Lab located at 3245 E 5” PL, Tulsa, Oklahoma.
10. The applied-for warrant would authorize the forensic examination of the

Devices for the purpose of identifying electronically stored data particularly

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described in Attachment B.

Definitions

11. The following definitions, inclusive of all definitions contained in 18 U.S.C. §
2256, apply to this affidavit and the attachments incorporated herein:
a. "Child pornography," as defined in 18 U.S.C. § 2256(8), is any visual
depiction, including any photograph, film, video, picture, or computer or
computer-generated image or picture, whether made or produced by
electronic, mechanical or other means, of sexually explicit conduct, where (a) the
production of the visual depiction involved the use ofa minor engaged in
sexually explicit conduct, (b) the visual depiction is a digital image, computer
image, or computer- generated image that is, or isindistinguishable from, that
of a minor engaged in sexually explicit conduct, or (c) the visual depiction has
been created, adapted, or modified to appear that an identifiable minor is

engaged in sexually explicit conduct;

b. "Internet Protocol address" or "IP address" refers to a unique number used
by a computer or electronic device to access the Internet. IP addresses can be
dynamic, meaning that the ISP assigns a different unique number toa
computer every time it accesses the Internet. IP addresses may also be static,
which means the ISP assigns a user's computer a particular IP address that is

used each time the computer accesses the Internet;

c. "Electronic Mail," commonly referred to as email (or e-mail), isa method of

exchanging digital messages from an author to one or more recipients. Modern
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email operates across the Internet or other computer networks. Email systems
are based on a store-and-forward model; that is, email servers accept, forward,
deliver, and store messages. Neither the users nor their computers are required
to be online simultaneously; they need only connect briefly, typically to an
email server, for as long a period of time as it takes to send or receive messages.
One of the most commons methods of obtaining an email account is through a
free web- based email service provider such as, Outlook, Yahoo, or Gmail.
Anyone with access to the Internet can generally obtain a free web-based email

account;

d. A"hash value" or "hash ID" is a unique alpha-numeric identifier fora
digital file. A hash value is generated by a mathematical algorithm, based on
the file's content. A hash value isa file's "digital fingerprint" or "digital DNA."
Two files having identical content will have the same hash value, even ifthe file
names are different. On the other hand, any change to the data ina file,
however slight, will change the file's hash value, even ifthe file name is
unchanged. Thus, iftwo files have the same hash value, they are said to be

identical, even ifthey have different file names;

e. "Cloud storage service" refers to a publicly accessible, online storage provider
that can be used to store and share files in large volumes. Users of cloud storage

services can share links and associated passwords to their stored files with others
in order to grant access to their file collections. Such services allow individuals to

easily access these files through a wide variety of electronic devices such as
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desktop computers, laptops, mobile phones or tablets, from anywhere. Many

services provide free access up to a certain size limit;

f. The "Internet" isa global network ofcomputers and other electronic
devices that communicate with each other. Due to the structure ofthe
Internet, connections between devices on the Internet often cross state and

international borders, even when the devices communicating with each other

are in the same state;

g. "Minor," as defined in 18 U.S.C. § 2256(1), refers to any person under the

age of eighteen years;

h."Records," "documents," and "materials," as used herein, include all
information recorded in any form, visual or aural, and by any means, whether

in handmade, photographic, mechanical, electrical, electronic, or magnetic

form;

i. "Sexually explicit conduct," as defined in 18 U.S.C. § 2256(2), means actual or
simulated (a) sexual intercourse, including genital-genital, oral-g nital, anal-

genital, or oral-anal, whether between persons of the same or opposite sex; (b)

bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious

exhibition of the genitals or pubic area of any person; and

j. "Visual depiction," as defined in 18 U.S.C. §2256(5), includes undeveloped
film and videotape, data stored on computer disc or other electronic means which

iscapable of conversion into a visual image, and data which is capable of
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conversion into a visual image that has been transmitted by any means,

whether or not stored in a permanent format.

Probable Cause

12. On or about August 17, 2023, the National Center for Missing and
Exploited Children (NCMEC) received CyberTipline Report 171070639 from
social media messaging company MediaLab/Kik. Kik reported that photographs
consistent with child pornography were uploaded and shared by Kik user
"mitchtwidd" on the Kik platform. On September 15, 2023, Detective Aubrey
Williams with the Tulsa Police Department authored a State of Oklahoma search
warrant for the Kik account associated with "mitchtwidd". On November 27, 2023,
Detective Williams reviewed the returned materials and found at least three unique
images she recognized as child pornography and four copies of the original photos.
When I reviewed the three unique photos recovered from MediaLab/Kik, I
observed one photo that showed a prepubescent female approximately three to five
years old that was in a bathtub being forced to insert an adult male's erect penis into
her mouth. I also observed a photo that showed a three- to five-month-old female
that had an adult male's erect penis being forced into her vagina. Finally, I
observed a female that appeared to be eight to ten years old being posed with her
vagina being fully exposed.

13. The "mitchtwidd" account appeared to have extensive communication

with another user called "meowmixxxxxxx". The two accounts exchanged more

than 875 messages between April - June 2023. Kik user "mitchtwidd" sent user
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"meowmixxxxxxx" four separate images Det. Williams recognized as child
pornography. The metadata within the photos sent by "mitchtwidd" matched
the child pornography photos located in the Kik return. On two separate
occasions user "Meowmixxxxxxx" sent user "mitchtwidd" non-pornographic
images ofa male child approximately 4-6 years old. The search warrant return
also indicated that user "mitchtwidd" was registered to the email address
mitchell.twidwell@gmail.com and most frequently used the IP address
172.126.102.30.

14. On September 19, 2023, Det. Williams authored a State of Oklahoma
search

warrant for the Google account associated with mitchell.twidwell@gmail.com. On
September 21, 2023, Detective Williams received the search warrant return from
Google. The account appears to have been active since at least August 5, 2010. It
contained numerous photographs of Mitchell Dean TWIDWELL, including his
Oklahoma and Nebraska state-issued driver's licenses and his TruGreen work
photo.

15. On November 30, 2023, Det. Williams authored a State of Oklahoma
search warrant for the AT&T account associated with the IP address
172.126.102.30. On December 15, 2023, she received a response from AT&T
stating that the account is associated with subscriber Mitchell TWIDWELL who
resides at 141 N College Ave, Tulsa, OK, and has a phone number of 402-805-

0982. A search of the Tulsa County Assessor Office website on January 10, 2024,
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showed Mitchell TWIDWELL asthe owner of 141 N College Ave.

16. On March 20, 2024, Det. Williams authored a State of Oklahoma

residential search warrant for 141 N College Ave, Tulsa, OK, 74110. The warrant

was served on March 21, 2024, by members ofthe Tulsa Police Department

Sexual Predator Digital Evidence Recovery Unit. Mitchell TWIDWELL was the

only person located inside the residence and he agreed toa non-custodial interview

in the street in front of his residence. Det. Williams and I interviewed Mitchell

Dean TWIDWELL at that time. During the interview TWIDWELL made the

following statements:

He frequently used the username "mitchtwidd"
His email address is mitchell.twidwell@gmail.com
He used Kik to communicate with women he met on dating apps

He moved the women from the dating apps to Kik for
communication because thisensured privacy and eliminated a

record of any text message history

Investigators would find child pornography on his cell phone

He had been viewing child pornography for approximately two years
He received child pornography from dating apps- he communicated
with moms who would send him child pornography

He also received offers from moms who wanted to arrange meetups
with their children in exchange for money

He said he had most recently purchased child pornography 6 months

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ago
¢ Hesaid he purchased child pornography via PayPal
* When asked ifhe had ever given direction to mothers to perform sexual
acts with their children, he said "in the spirit of just talking about
general moms doing general things, in the spirit of conversation, like
I was saying just kind of playing along and I like the mind game of
the conversation."

17. Mitchell TWIDWELL's Apple iPhone 11 was located on his person, and it
was seized so it could be examined at the Tulsa Police Department Sexual Predator
Digital Recovery Lab. Det. Williams found at least ten photos and videos she
identified as child pornography. Additionally, she found payment history between
TWIDWELL's CashApp account and an account belonging to "Meowmixxxxxxx".
When I viewed the photos and videos located on TWIDWELLS's Apple iPhone I
observed at least ten photos and videos of prepubescent females under 10 that were
being forced to have oral and vaginal sex with adults.

18. On April 2, 2024, Det. Williams authored a State of Oklahoma search
warrant for the Apple iCloud account associated with twidwell.mitchell@gmail.com.
This was the iCloud account registered to the cell phone seized during the warrant

service on March 21, 2024. On April 16, 2024, she reviewed the return and found
ten files she recognized as child pornography. When I reviewed the files recovered
from the Apple iCloud account, I observed five unique photos I recognized as child

pornography and five copies of the originals. Two of the unique photos show

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prepubescent females approximately eight to ten years old with their vaginas
exposed with either adults or other children performing oral sex on them. Two
additional photos show prepubescent females that are having adult male penis's
being inserted into their vaginas. Finally, one photo shows a prepubescent female
approximately 12 years old with her vagina exposed kissing another juvenile female.
19.On April 5, 2024, after serving a search warrant for TWIDWELL's
Reddit account, usemame "u/jacksonreid_onlyfun", it was discovered that
TWIDWELL was a member of numerous subreddits, including "r
/Perv_Mom",
"r/breedingfamilys", "r/BornToBeFucked", "r/Family_Nudity", and
"r /MomSonlncest". Based on the return received from Reddit, TWIDWELL
appeared to be very active on these message boards and left frequent comments

including the following conversation found on the Incest Confessions subreddit:

Original Post I want to raise a free use family but men
aren't into that for some reason?

u/jacksonreid onlyfun This fucking one is! I'm trying to find a
female to breed!

Original Post So guys please read my previous post
for reference as to what I'm talking
about. My family has become a free use
family over the past 7-8 months and it
has been a lot of fun. Loads of stuff has

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been happening, like at least once a
week. I can't post that much so please
let me know what to post next.

1. My dad joining my sister and me
in the shower

2. A family game night of strip
pictionary which ended with the 4 of
us together

3. My mom teaching me how to blow
my dad

4. My sister, my mom, and me

u/jacksonreid_onlyfun

Need more girls only; moms daughters

A review of TWIDWELL's chat history on Reddit showed the following

conversation between "u/jacksonreid_onlyfun" and a now-deleted account. The

last message from TWIDWELL is him sending the user his Session! ID

number:

Creation Time Updated Time Username Message

2023-12-20 2023-12-20 jacksonreid_onlyfun | Are they young?

04:05:01 UTC 04:05:01 UTC oY«:

2023-12-20 2023-12-20 [deleted] Yes

05:53:19 UTC 05:53:19 UTC

2023-12-20 2023-12-20 jacksonreid_onlyfun | Please send them

05:54:29 UTC 05:54:29 UTC 5y-

2023-12-20 2023-12-20 [deleted] My daughters are

05:57:30 UTC 05:57:30 UTC 15 and 13

2023-12-20 2023-12-20 [deleted] Is that ok with

05:57:33 UTC 05:57:33 UTC you

2023-12-20 2023-12-20 jacksonreid_onlyfun | I wouldnaE™t

06:00:03 UTC 06:00:03 UTC want them if they
werenaETMt

2023-12-20 2023-12-20 [deleted] Sweet

06:01:03 UTC 06:01:03 UTC

2023-12-20 2023-12-20 2023-12-20 06:02:02 | 2023-12-20

06:02:02 UTC 06:02:02 UTC UTC 06:02:02 UTC

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20. On April 8, 2024, Tulsa Police Department Det. Raymond Ackermann
returned to TWIDWELL's residence at 141 N College Ave to conduct surveillance.
Det. Ackermann observed that TWIDWELL's VW Tiguan was no longer in the
driveway, a no trespassing sign had been placed on the front door, and the rolling
garage door appeared to be open slightly. Det. Williams located a Facebook profile
for one of the women TWIDWELL had been messaging, Printace Broughton-Clark.
Clark had posted photos of herself visiting TWIDWELL at his residence on March
19, 2024. On April 1, 2024, Clark began posting photos of TWIDWELL at her
residence in Houston, Texas. TWIDWELL is frequently photographed with Clark's
daughter who is approximately ten years old. On May 13, 2024, TWIDWELL was
photographed at a pool party for Clark's birthday with Sophie and an unknown 2-4
year old child. TWIDWELL was photographed with Clark attending the Houston
Astros Hello Kitty Night baseball game on May 14, 2024. There were also photos of
TWIDWELL ata children's pool party.

21. On May 16, 2024, an arrest warrant was issued for Mitchell TWIDWELL
from the Northern District of Oklahoma. The arrest warrant was entered into
NCIC after it was discovered that TWIDWELL was possibly staying in Houston,
Texas. Detective Aubrey Williams contacted the Texas Department of Public
Safety and requested assistance locating TWIDWELL. On May 28, 2024,
TWIDWELL was located by officers with the Texas Department of Public Safety
(DPS) at 1317 El Camino Village Dr, Houston, Texas 77058. TWIDWELL was

brought outside the home and arrested. Clark was approached and was asked ifshe would

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consent to officers searching the home for TWIDWELL’s devices, Clark allowed officers to
preview her own cell phone on scene and then took officers to the living room where she
identified a black Lenovo ThinkPad computer as TWIDWELL’s. Clark then took officers to
the bedroom where TWIDWELL had been staying and identified a black Apple iPhone as
TWIDWELL’s. TWIDWELL was transported and booked into the Harris County Jail.
TWIDWELL's black Apple iPhone S/N: JYRL4WFOQR and black Lenovo
ThinkPad computer S/N: PF-2L53AR were secured by Texas DPS officers to
prevent the destruction of any possible evidence.

22. Clark and her ten-year-old daughter were interviewed; neither made
disclosures of touching. However, during Clark's interview with law enforcement,
she informed officers that TWIDWELL had told her that he had come down to
Houston because he needed a fresh start because he was working through some
sexual deviances and that he was addicted to pornography. Clark also informed
officers that her daughter would sometimes sleep in the bedroom with her, while
TWIDWELL would sleep on the floor of the bedroom.

23. On May 31, 2024, Homeland Security Investigations Agent Russell Hurst
collected the devices from the Texas Department of Public Safety and shipped them
to the Tulsa Police Department Computer Forensics lab, 3245 E 5" PL, Tulsa,
Oklahoma, for forensic analysis.

24. On June 18, 2024 in the Northern District of Oklahoma an impaneled
grand jury returned atrue bill ofindictment against TWIDWELL for the

following offenses: COUNT ONE: 18 U.S.C. §§ 2252(a)(2) and 2252(b)(/) -

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Receipt and Distribution of Child Pornography; and COUNT TWO: 18 U.S.C. §§
2252(aA)(A) and 2252(b)(2) - Possession of Child Pornography in Indian
Country.

25. The Devices are currently in storage at the Tulsa Police Department
Computer Forensics lab, 3245 E 5th PL, Tulsa, Oklahoma. In my training
and experience, I know that the Devices have been stored in a manner in
which their contents are, to the extent material to this investigation, in
substantially the same state as they were when the Devices first came into the

possession ofthe Tulsa Police Department.

Technical Terms

26. Based on my training and experience, I use the following technical terms to
convey the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone, or
cellular telephone) is a handheld wireless device used for voice and data
communication through radio signals. These telephones send signals
through networks of transmitter/receivers, enabling communication
with other wireless telephones or traditional "land line" telephones.
A wireless telephone usually contains a "call log," which records the
telephone number, date, and time of calls made to and from the
phone. In addition to enabling voice communications, wireless

telephones offer a broad range of capabilities. These capabilities

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include: storing names and phone numbers in electronic "address
books;" sending, receiving, and storing text messages and e-mail;
taking, sending, receiving, and storing still photographs and moving
video; storing and playing back audio files; storing dates,
appointments, and other information on personal calendars; and
accessing and downloading information from the Internet. Wireless
telephones may also include global positioning system ("GPS")
technology for determining the location of the device.

b. Digital camera: A digital camera is a camera that records pictures as
digital picture files, rather than by using photographic film. Digital
cameras use a variety of fixed and removable storage media to store
their recorded images. Images can usually be retrieved by connecting
the camera to a computer or by connecting the removable storage
medium to a separate reader. Removable storage media include various
types of flash memory cards or miniature hard drives. Most digital
cameras also include a screen for viewing the stored images. This
storage media can contain any digital data, including data unrelated to
photographs or videos.

c. Portable media player: A portable media player (or "MP3 Player" or
iPod) is a handheld digital storage device designed primarily to store
and play audio, video, or photographic files. However, a portable media

player can also store other digital data. Some portable media players

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can use removable storage media. Removable storage media include
various types of flash memory cards or miniature hard drives. This
removable storage media can also store any digital data. Depending on
the model, a portable media player may have the ability to store very
large amounts of electronic data and may offer additional features such

as a calendar, contact list, clock, or games.

d. GPS: A GPS navigation device uses the Global Positioning System to
display its current location. It often contains records the locations
where it has been. Some GPS navigation devices can give a user
driving or walking directions to another location. These devices can
contain records of the addresses or locations involved in such
navigation. The Global Positioning System (generally abbreviated
"GPS") consists of 24 NAVSTAR satellites orbiting the Earth. Each
satellite contains an extremely accurate clock. Each satellite
repeatedly transmits by radio a mathematical representation of the
current time, combined with a special sequence ofnumbers. These
signals are sent by radio, using specifications that are publicly
available. A GPS antenna on Earth can receive those signals. When a
GPS antenna receives signals from at least four satellites, a computer
connected to that antenna can mathematically calculate the antenna's
latitude, longitude, and sometimes altitude with a high level of

precision.

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e.

PDA: A personal digital assistant, or PDA, is a handheld electronic
device used for storing data (such as names, addresses, appointments or
notes) and utilizing computer programs. Some PDAs also function
as wireless communication devices and are used to access the Internet
and send and receive e-mail. PDAs usually include a memory card or
other removable storage media for storing data and a keyboard
and/or touch screen for entering data. Removable storage media
include various types of flash memory cards or miniature hard drives.
This removable storage media can store any digital data. Most PDAs
run computer software, giving them many of the same capabilities as
personal computers. For example, PDA users can work with word-
processing documents, spreadsheets, and presentations. PDAs may
also include global positioning system ("GPS") technology for
determining the location of the device.

Tablet: A tablet isa mobile computer, typically larger than a phone yet
smaller than a notebook, that is primarily operated by touching the
screen. Tablets function as wireless communication devices and can be
used to access the Internet through cellular networks, 802.11 "wi-fi"
networks, or otherwise. Tablets typically contain programs called apps,
which, like programs ona personal computer, perform different
functions and save data associated with those functions. Apps can,

for example, permit accessing the Web, sending and receiving e-mail,

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and participating in Internet social networks.

g. IP Address: An Internet Protocol address (or simply "IP address") is a

unique numeric address used by computers on the Internet. An IP
address is a series of four numbers, each in the range 0-255, separated
by periods (e.g., 121.56.97.178). Every computer attached to the
Internet computer must be assigned an IP address so that Internet
traffic sent from and directed to that computer may be directed
properly from its source to its destination. Most Internet service
providers control a range of IP addresses. Some computers have
static-that is, long-term- IP addresses, while other computers have
dynamic-that is, frequently changed-IP addresses.

h. Internet: The Internet isa global network of computers and other
electronic devices that communicate with each other. Due to the
structure of the Internet, connections between devices on the Internet
often cross state and international borders, even when the devices
communicating with each other are in the same state.

27. Based on my training, experience, and research, and from consulting the
manufacturer's advertisements and product technical specifications available online
at https:/ /www.apple.com/iphone-se/specs/ and
https:// www.lenovo.com/us/en/c/laptops/thinkpad/, I know that the
Devices have capabilities that allow them to serve as a wireless telephone, digital

camera, portable media player, GPS navigation device, computer, and FDA. In my

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training and experience, examining data stored on devices of these type can
uncover, among other things, evidence that reveals or suggests who possessed or

used the Devices.

Characteristics Common to Individuals

who Exhibit a Sexual Interest in Children and Individuals who Distribute,

Receive, Possess and/or Access with Intent to View Child Pornography

28. Based on my previous investigative experience related to child exploitation
investigations, and the training and experience of other law enforcement officers with
whom I have had discussions, I know there are certain characteristics common to
individuals who distribute, receive, possess, and/or access with intent to view
child pornography:

a. Such individuals may receive sexual gratification, stimulation, and satisfaction

from contact with children, or from fantasies they may have viewing children

engaged in sexual activity or in sexually suggestive poses, such as in person, in

photographs, or other visual media, or from literature describing such activity;

b. Such individuals may collect sexually explicit or suggestive materials in a
variety of media, including photographs, magazines, motion pictures, videotapes,
books, slides and/or drawings or other visual media. Individuals who have a
sexual interest in children or images of children oftentimes use these materials for
their own sexual arousal and gratification. Further, they may use these
materials to lower the inhibitions of children they are attempting to seduce, to

arouse the selected child partner, or to demonstrate the desired sexual acts;

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c. Such individuals almost always possess and maintain digital or electronic files
of child pornographic material, that is, their pictures, videos, photographs,
correspondence, mailing lists, etc., in the privacy and security of their home
or some other secure location. Individuals who have a sexual interest in
children or images of children typically retain pictures, videos, photographs,

correspondence, and mailing lists for many years;

d. Likewise, such individuals often maintain their child pornography images
in a digital or electronic format ina safe, secure and private environment,
such as a computer and surrounding area. These child pornography images
are often maintained for several years and are kept close by, usually at the
possessor's residence, inside the possessor's vehicle, or, at times, on their
person, to enable the individual to view the child pornography images,
which are valued highly. Some of these individuals also have been found to
download, view, and then delete child pornography on their computers or

digital devices on a cyclical and repetitive basis;

e. Based on my training and experience and speaking with other special
agents, I know that such individuals have taken their electronic devices and
storage media, which contain their collections of child pornography, with

them when they have moved or changed residences;

f. Such individuals may also take it upon themselves to create their own

child pornography or child erotica images, videos or other recordings,

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or engage in contact sex offenses with children. These images, videos
or other recordings may be taken or recorded covertly, such as with a
hidden camera in a bathroom, or the individual may have child victims
he or she is abusing in order to produce child pornographic or child
erotica images, videos or other recordings. Studies have shown there is a
high cooccurrence between those who traffic in child pornography and
commit sex offenses with children. Such individuals may also attempt to
persuade, induce, entice, or coerce child victims in person or via
communication devices to self-produce and send them child pornography
or to meet in person for sex acts. These images, videos or other recordings

are often collected, traded, or shared;

g. Importantly, evidence of such activity, including deleted child
pornography, often can be located on these individuals' computers and
digital devices through the use of forensic tools. Indeed, the very nature
of electronic storage means that evidence of the crime is often still
discoverable for extended periods of time even after the individual

"deleted"! it;

h. Such individuals also may correspond with and/or meet others to

| See United States v. Carroll, 750 F.3d 700, 706 (7th Cir. 2014) (concluding that 5-year delay was not too long
because "staleness inquiry must be grounded in an understanding of both the behavior of child pornography
collectors and of modern technology"); see also United States v. Seiver,692 F.3d 774 (7th Cir. 2012) (Posner, J.)
(collecting cases, e.g., United States v. Allen, 625 F.3d 830, 843 (5th Cir. 2010); United States v. Richardson, 607
F.3d 357, 370-71 (4th Cir. 2010); United States v. Lewis, 605 F.3d 395, 402 (6th Cir. 2010).)

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share information and materials, rarely destroy correspondence from
other child pornography distributors/possessors, conceal such
correspondence as they do their sexually explicit material, and often
maintain lists of names, addresses, and telephone numbers of individuals
with whom they have been in contact and who share the same interests in
child pornography;

i. Based on my training and experience, I know that such individuals may
use their financial information to buy and sell child pornography online
and purchase software used to mask their online activity from law
enforcement. For instance, individuals may purchase cryptocurrency such
as Bitcoin to buy and sell child pornography online. The use of
cryptocurrency provides a level of anonymity because it masks the user's
identity when conducting online financial transactions and provides a
means of laundering illicit proceeds. Financial information may provide a
window into the identities of individuals seeking to buy or sell child
pornography online by tying the illicit transactions back to the user.
Financial information contained on an electronic device containing child
pornography may also provide indicia of ownership. Further, based on
my training and experience, I know that individuals involved in the
trafficking of child pornography may use sophisticated software, such as

router configuration software, virtual private networks, proxy servers,

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cryptocurrency exchanges, or other anonymizing software, in conjunction
with these illicit financial transactions to provide dual layers of anonymity
and prevent law enforcement detection. Financial information may

indicate which services were purchased to obscure an individual's identity;

j. Such individuals prefer not to be without their child pornography for
any prolonged period of time. This behavior has been documented by
law enforcement officers involved in the investigation of child

pornography throughout the world.

Background on Child Pornography, Computers,
and the Internet

29. I have had both training and experience in the investigation of
computer- related crimes. Based on my training, experience, and
knowledge, I know the following:
a. Computers, smartphones’ and digital technology are the primary way in
which individuals interested in child pornography interact with each other.
Computers and smartphones basically serve four functions in connection
with child pornography: production, communication, distribution, and

storage;

2 Smartphones are a class of mobile phones and of multi-purpose mobile computing devices. They are
distinguished from feature phones by their stronger hardware capabilities and extensive mobile operating
systems, which facilitate wider software, internet (including web browsing over mobile broadband), and
multimedia functionality (including music, video, cameras, and gaming), alongside core phone functions
such as voice calls and text messaging.

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b. Digital cameras and smartphones with cameras save photographs or
videos as a digital file that can be directly transferred to a computer by
connecting the camera or smartphone to the computer, using a cable or via
wireless connections such as "WiFi" or "Bluetooth." Photos and videos taken
on a digital camera or smartphone may be stored on a removable memory
card in the camera or smartphone. These memory cards are often large

enough to store thousands of high-resolution photographs or videos;

c. A device known as a modem allows any computer to connect to another
computer through the use of telephone, cable, or wireless connection. Mobile
devices such as smartphones and tablet computers may also connect to other
computers via wireless connections. Electronic contact can be made to
literally millions of computers and smartphones and tablets around the
world. Child pornography can therefore be easily, inexpensively and
anonymously (through electronic communications) produced, distributed, and

received by anyone with access to a computer or smartphone;

d. The computer's ability to store images in digital form makes the computer itself
an ideal repository for child pornography. Electronic storage media of various
types - to include computer hard drives, external hard drives, CDs, DVDs, and

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"thumb," "jump," or "flash" drives, which are very small devices which are
plugged into a port on the computer - can store thousands of images or videos
at very high resolution. It is extremely easy for an individual to take a photo or

a video with a digital camera or camera-bearing smartphone, upload that

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photo or video to a computer, and then copy it (or any other files on the
computer) to any one of those media storage devices. Some media storage
devices can easily be concealed and carried on an individual's person.
Smartphones and/or mobile phones are also almost always carried on an
individual's person (or within their immediate dominion and control) and can

additionally store media;

e. The Internet affords individuals several different venues for obtaining, viewing,

and trading child pornography ina relatively secure and anonymous fashion;

f. Individuals also use online resources to retrieve and store child pornography.
Some online services allow a user to set up an account with a remote
computing service that may provide e-mail services and/or electronic storage
of computer files in any variety of formats. A user can set up an online storage
account (sometimes referred to as "cloud" storage) from any computer or
used, however, evidence of child pornography can be found on the user's

computer, smartphone or external media in most cases; and

g. As is the case with most digital technology, communications by way of
computer or smartphone can be saved or stored on the computer or
smartphone used for these purposes. Storing this information can be
intentional (i.e., by saving an e-mail asa fileon the computer or smartphone,
or saving the location of one's favorite websites in, for example,
"bookmarked" files). Digital information can also be retained unintentionally

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such as the traces ofthe path of an electronic communication may be
automatically stored in many places (e.g., temporary files or ISP client
software, among others). In addition to electronic communications, a

computer or smartphone user's Internet activities generally

leave traces or "footprints" in the web cache and history files of the browser used.
Such information is often maintained indefinitely until overwritten by other

data.
Specifics of Search and Seizure of Computer Systems

30. As described above and in Attachment B, this application seeks permission
to search for records that might be found on the Device in whatever form they are
found. One form in which the records might be found is data stored ona
computer's hard drive or other storage media, such as acellular phone,
smartphone, or tablet. Thus, the warrant applied for would authorize the seizure of
electronic storage media or, potentially, the copying of electronically stored

information, all under Rule 41(e)(2)(B).

31. I submit that there is probable cause to believe those records will be stored on
that computer or storage medium, for at least the following reasons:

a. Based on my knowledge, training, and experience, I know that computer files

or remnants of such files can be recovered months oreven years after they

have been downloaded onto a storage medium, deleted, or viewed via the

Internet. Electronic files downloaded to astorage medium can be stored for

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years at little or no cost. Even when files have been deleted, they can be
recovered months or years later using forensic tools. This is so because when a
person "deletes" a file on acomputer, the data contained in the file does not

actually disappear; rather, that data remains on the storage medium until it is

overwritten by new data;

b. Therefore, deleted files, or remnants of deleted files, may reside in free space or
slack space-that is, in space on the storage medium that is not currently being
used by an active file-for long periods of time before they are overwritten. In
addition, a computer's operating system may also keep a record of deleted data
in a "swap" or "recovery" file;

c. Wholly apart from user-generated files, computer storage media-in particular,
computers' internal hard drives-contain electronic evidence of how a computer
has been used, what it has been used for, and who has used it. To give a few
examples, this forensic evidence can take the form of operating system
configurations, artifacts from operating system or application operation, file
system data structures, and virtual memory "swap" or paging files. Computer
users typically do not erase or delete this evidence, because special software is
typically required for that task. However, itis technically possible to delete this
information;

d. Similarly, files that have been viewed via the Internet are sometimes

automatically downloaded into a temporary Internet directory or "cache."

32. As further described in Attachment B, this application seeks permission to

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locate not only computer files that might serve as direct evidence ofthe crimes
described on the warrant but also for forensic electronic evidence that establishes
how the Device(s) were used, the purpose ofthe use, who used the Device(s), and
when. There is probable cause to believe that this forensic electronic evidence will be

on the Device(s) because:

a. Data on the storage medium can provide evidence ofa file that was once
on the storage medium but has since been deleted or edited, or ofa deleted
portion of a file (such as a paragraph that has been deleted from a word
processing file). Virtual memory paging systems can leave traces of information
on the storage medium that show what tasks and processes were recently active.
Web browsers, e-mail programs, and chat programs store configuration
information on the storage medium that can reveal information such as online
nicknames and passwords. Operating systems can record additional
information, such as the attachment of peripherals, the attachment of USB flash
storage devices or other external storage media, and the times the computer was
in use. Computer file systems can record information about the dates files were
created and the sequence in which they were created, although this

information can later be falsified;

b. As explained herein, information stored within a computer and other electronic
storage media may provide crucial evidence of the "who, what, why, when,
where, and how" ofthe criminal conduct under investigation, thus enabling

the United States to establish and prove each element or alternatively, to

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exclude the innocent from further suspicion. In my training and experience,
information stored within a computer or storage media (e.g., registry
information, communications, images and movies, transactional information,
records of session times and durations, internet history, and anti-virus,
spyware, and malware detection programs) can indicate who has used or
controlled the computer or storage media. This "user attribution" evidence is
analogous to the search for "indicia of occupancy" while executing a search
warrant at a residence. The existence or absence of anti-virus, spyware, and
malware detection programs may indicate whether the computer was remotely
accessed, thus inculpating or exculpating the computer owner. Further,
computer and storage media activity can indicate how and when the computer or
storage media was accessed or used. For example, as described herein, computers
typically contain information that logs the following: computer user account
session times and durations, computer activity associated with user accounts,
electronic storage media that connected with the computer, and the IP addresses
through which the computer accessed networks and the internet. Such
information allows investigators to understand the chronological context of
computer or electronic storage media access, use, and events relating to the
crime under investigation. Additionally, some information stored within a
computer or electronic storage media may provide crucial evidence relating to
the physical location of other evidence and the suspect. For example, images

stored on a computer may both show a particular location and have geolocation

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information incorporated into its file data. Such file data typically also contains
information indicating when the file or image was created. The existence of such
image files, along with external device connection logs, may also indicate the
presence of additional electronic storage media (e.g., a digital camera or cellular
phone with an incorporated camera). The geographic and timeline information
described herein may either inculpate or exculpate the computer user. Last,
information stored within acomputer may provide relevant insight into the
computer user's state of mind as it relates to the offense under investigation.
For example, information within the computer may indicate the owner's
motive and intent to commit a crime (e.g., internet searches indicating criminal
planning), or consciousness of guilt (e.g., running a "wiping" program to destroy
evidence on the computer or password protecting/encrypting such evidence in

an effort to conceal it from law enforcement);

c. A person with appropriate familiarity with how a computer works can,
after examining this forensic evidence in its proper context, draw conclusions
about how computers were used, the purpose of their use, who used them,

and when;

d. The process of identifying the exact files, blocks, registry entries, logs, or other
forms of forensic evidence on a storage medium that are necessary to draw an
accurate conclusion is adynamic process. While itis possible to specify in
advance the records to be sought, computer evidence isnot always data that

can be merely reviewed by a review team and passed along to investigators.

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Whether data stored on a computer is evidence may depend on other
information stored on the computer and the application of knowledge about
how a computer behaves. Therefore, contextual information necessary to

understand other evidence also falls within the scope of the warrant;

e. Further, in finding evidence of how a computer was used, the purpose of its
use, who used it, and when, sometimes it is necessary to establish that a
particular thing is not present on a storage medium. For example, the presence
or absence of counter-forensic programs or anti-virus programs (and associated

data) may be relevant to establishing the user's intent,

f. I know that when an individual uses a computer to obtain or access child
pornography, the individual's computer will generally serve both as an
instrumentality for committing the crime, and also as a storage medium for
evidence of the crime. The computer is an instrumentality ofthe crime because
it is used as a means of committing the criminal offense. The computer is also
likely to be a storage medium for evidence ofcrime. From my training and
experience, I believe that a computer used to commit a crime of this type may
contain: data that is evidence of how the computer was used; data that was sent
or received; notes as to how the criminal conduct was achieved; records of
Internet discussions about the crime; and other records that indicate the nature

of the offense.

33. Based upon my training and experience and information relayed to me by

agents and others involved in the forensic examination of computers, I know that

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computer data can be stored on a variety ofcomputer systems and storage
devices, including external and internal hard drives, flash drives, thumb drives,
micro SD cards, macro SD cards, DVDs, gaming systems, SIM cards, cellular
phones capable of storage, smartphones, floppy disks, compact disks, magnetic
tapes, memory cards, memory chips, and online or offsite storage servers
maintained by corporations, including but not limited to "cloud" storage. I also
know that:
a. Searching computer systems isa highly technical process which requires
specific expertise and specialized equipment. There are so many types of
computer hardware and software in use today that it is impossible to bring to
the search site all of the technical manuals and specialized equipment
necessary to conduct a thorough search. In addition, it may also be necessary
to consult with computer personnel who have specific expertise in the type of

computer, software website, or operating system that is being searched;

b. Searching computer systems requires the use of precise, scientific
procedures which are designed to maintain the integrity of the evidence and
to recover "hidden," erased, compressed, encrypted, or password-protected
data. Computer hardware and storage devices may contain "booby traps"
that destroy or alter data if certain procedures are not scrupulously followed.
Since computer data is particularly vulnerable to inadvertent or intentional
modification or destruction, a controlled environment, such as a law

enforcement laboratory, is essential to conducting a complete and accurate

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analysis of the equipment and storage devices from which the data will be

extracted;

c. The volume of data stored on many computer systems and storage devices will
typically be so large that it will be highly impractical to search for data during the

execution of the physical search of a premises; and

d. Computer users can attempt to conceal data within computer equipment
and storage devices through a number of methods, including the use of
innocuous or misleading filenames and extensions. For example, files with the
extension ".jpg" often are image files; however, auser can easily change the
extension to" .txt" to conceal the image and make it appear that the file
contains text. Computer users can also attempt to conceal data by using
encryption, which means that a password or device, such as a"dongle" or
"keycard," is necessary to decrypt the data into readable form. In addition,
computer users can conceal data within another seemingly unrelated and
innocuous file in a process called "steganography." For example, by using
steganography a computer user can conceal text in an image file which cannot
be viewed when the image file is opened. Therefore, a substantial amount of
time isnecessary to extract and sort through data that is concealed or
encrypted to determine whether itis contraband, evidence, fruits, or

instrumentalities of a crime.
34. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I
am applying for would permit seizing, imaging, or otherwise copying storage media

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that reasonably appear to contain some or all of the evidence described in the

warrant and would authorize a later review of the media or information consistent

with the warrant. The later review may require techniques, including but not limited
to computer-assisted scans of the entire medium, that might expose many parts of
a hard drive to human inspection in order to determine whether it is evidence

described by the warrant.

Electronic Storage and Forensic Analysis

35. Based on my knowledge, training, and experience, I know that
electronic devices can store information for long periods of time. Similarly,
things that have been viewed via the Internet are typically stored for some
period of time on the device. This information can sometimes be recovered
with forensics tools.

36. I know that cellular telephones are often equipped with digital cameras
and those phones possess the capability to transmit and/or store electronic
images. I know that in many cases, cellular telephones maintain photographs of
illegal activities, including advertising to receive and exchange child pornography,
distribution and receipt of child pornography, and possession of or access with intent
to view child pornography. These photos are sometimes stored in their cellular
phones and often are transmitted or sent from one electronic media device to
another. I also know that cellular phones may also contain notes regarding
potential illegal acts that are recorded. by the subject who possesses the electronics.

Furthermore, I know that text messages and emails are often used by two or more

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persons to communicate information regarding illegal activities, between
principals and co-conspirators of those crimes.

37. I know that cellular telephones are utilized by the majority of individuals
in the United States and have become a staple of communication between
individuals using text messaging, visual and audible communications (telephone
calls and FaceTime type communications) as well as applications like "Signal,"
"Reddit," and "Telegram," and "Kik." Additionally, individuals utilize their
cellular devices to take pictures, keep notes, as a GPS (global positioning System)
device, and even to conduct illicit or illegal activity. Communications on
phones are kept for long periods and transferred from one phone to another when
replaced. This is done through the use of Cloud storage and direct transfer
conducted at the time of purchase or by the individual themselves. Individuals
utilize this method as not to lose data that is stored on the phone such as
contacts, photos, notes, and other important information to the individual. This
data includes contacts used to conduct illegal activities to include advertising to
receive and exchange child pornography, distribution and receipt of child

pornography, and possession of or access with intent to view child pornography.

38. Cellular telephones are often used to facilitate offenses and allow
criminals to maintain communication with each other before, during and
after the commission of offenses. I am aware that cellular telephones have

the capacity to store a vast amount of information, including but not limited

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to: telephone numbers, voice messages, text messages, e-mail, photographs,
videos, address books, records, phone call histories, contact and other

information. This information may be contained on the cellular

telephone.

39. Forensic evidence. As further described in Attachment B, this application seeks
permission to locate not only electronically stored information that might serve as
direct evidence of the crimes described on the warrant, but also forensic evidence
that establishes how the Devices were used, the purpose of their use, who used them,
and when. There is probable cause to believe that this forensic electronic evidence
might be on the Devices because:

a. Data on thestorage medium can provide evidence of a file that was once
on the storage medium but has since been deleted or edited, or ofa
deleted portion ofa file (such as a paragraph that has been deleted from
a word processing file).

b. Forensic evidence on a device can also indicate who has used or controlled
the device. This "user attribution" evidence is analogous to the search
for "indicia of occupancy" while executing a search warrant ata
residence.

c. A person with appropriate familiarity with how an electronic device works
may, after examining this forensic evidence in its proper context, be able to
draw conclusions about how electronic devices were used, the purpose of

their use, who used them, and when.

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d. The process of identifying the exact electronically stored information on
a storage medium that is necessary to draw an accurate conclusion isa
dynamic process. Electronic evidence is not always data that can be
merely reviewed by a review team and passed along to investigators.
Whether data stored on acomputer isevidence may depend on other
information stored on the computer and the application of knowledge
about how a computer behaves. Therefore, contextual information
necessary to understand other evidence also falls within the scope of the
warrant.

e. Further, in finding evidence of how a device was used, the purpose of
its use, who used it, and when, sometimes itis necessary to establish
that a particular thing is not present on a storage medium.

38. Nature of examination. Based on the foregoing, and consistent with Rule
4l(e)(2)(B), the warrant I am applying for would permit the examination of the Devices
consistent with the warrant. The examination may require authorities to employ
techniques, including but not limited to computer-assisted scans of the entire medium,
that might expose many parts of the Devices to human inspection in order to determine
whether itisevidence described by the warrant.

39. Manner of execution. Because this warrant seeks only permission to examine
devices already in law enforcement's possession, the execution of this warrant does not
involve the physical intrusion onto a premises. Consequently, I submit there is

reasonable cause for the Court to authorize execution of the warrant at any time in

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the day or night.

40. Methods of examination. In conducting this examination, law enforcement

personnel may use various methods to locate evidence and instrumentalities ofthe
crimes under investigation, including but not limited to undertaking a cursory inspection
of all information within the Devices. This method is analogous to cursorily

inspecting all the files in a file cabinet in an office to determine which paper evidence is
subject to seizure. Although law enforcement personnel may use other methods as
well, particularly including keyword searches, I know that keyword searches and
similar methods are typically inadequate to detect all information subject to seizure.
As an initial matter, keyword searches work only for text data, yet many types of
files commonly associated with stored cellular device data, such as pictures and
videos, do not store as searchable text. Moreover, even as to text data, keyword
searches cannot be relied upon to capture all relevant communications associated
with a cellular device, as it is impossible to know in advance all of the unique words
or phrases investigative subjects will use in their communications. Consequently,
often many communications in cellular device data that are relevant to an

investigation do not contain any searched keywords.

Conclusion
41. Based on the information set forth in this affidavit, I submit there is probable
cause to believe that 18 U.S.C. §§ 2252(a)(2) & (b)() - Distribution and receipt of

Child Pornography, and 18 U.S.C. §§ 2252(a)(4)(B) & (b)(2)- Possession of or

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Access with Intent to View Child Pornography, have been violated, and that
evidence of these offenses, more fully described in Attachment B, are located on the
Devices described in Attachment A. I respectfully request that this Court issue a
search warrant for the property described in Attachment A, authorizing the seizure
of the items described in Attachment B.

42. Based upon my training and experience, I have learned that criminals who
utilize the Internet actively search for criminal affidavits and search warrants and
disseminate them to other criminals as they deem appropriate, i.e., post them
publicly online through forums. It is possible that additional suspects will be
discovered during forensic analysis of electronic devices. Premature disclosure of
the contents of this Affidavit and related documents may have a significant and
negative impact on this continuing investigation and may jeopardize its
effectiveness by alerting the potential target(s) to the existence and nature of the
investigation, thereby giving them an opportunity to flee, or to destroy or tamper
with evidence.

43. I request to be allowed to share this affidavit and the information obtained
from this search with any government agency, to include state and local agencies
investigating or aiding in the investigation of this case or related matters, and to
disclose those materials as necessary to comply with discovery and disclosure

obligations in any prosecutions from this matter.

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Respectfully submitted,

Task Force Officer Eric Leverington
Homeland Security Investigations

Subscribed and sworn to by phone on JuneQ\ , 2024

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UNITED STATES MAGISTRATE JUDGE

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ATTACHMENT A

Property to be Searched

The property to be searched isa black Apple iPhone SE, SIN:
JYRL4WFOOR, and a black Lenovo ThinkPad computer, serial number PF-
2L53AR, hereinafter the "Devices." The Devices are currently located at Tulsa
Police Department Computer Forensics Lab located at 3245 E Sth PL, Tulsa,
Oklahoma.

This warrant authorizes the forensic examination of the Devices for the purpose

of identifying the electronically stored information described in Attachment B.
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ATTACHMENTB

Particular Things to be Seized

All records on the Device(s) described in Attachment A that relate to
violations of 18 U.S.C. §§ 2252(a)(2) & (b)()- Distribution and receipt of Child
Pornography, and 18 U.S.C. §§ 2252(a)(4)(B) & (b)(2) - Possession of or Access

with Intent to View Child Pornography including:

A. Images/videos/ gifs of child pornography or child erotica; files
containing images/videos/gifs; and data of any type relating to the
sexual exploitation of minors or a sexual interest in children, material
related to the possession thereof, and data of any type related to any
person employing, using, persuading, inducing, enticing, or coercing
any minor to engage in any sexually explicit conduct for the purpose of
producing any visual depiction of such conduct or for the purpose of
transmitting such visual depiction of such conduct, in any form
wherever it may be stored or found, including, but not limited to:

i. Graphic Interchange formats and/or photographs, and other visual
depictions of such Graphic Interchange formats (including, but not
limited to, JPG, GIF, TIF, AVI, and MPEG) of child pornography;
files relating to the distribution, receipt, or possession of child
pornography, or information pertaining to an interest in child

pornography;
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ii. Files in any form containing the visual depictions of minors
engaged in sexually explicit conduct, as defined in 18 U.S.C. § 2256 or
relating to the sexual exploitation of minors; and
ili. Stories, text-based files, motion pictures, films, videos, and other
recordings of visual depictions of minors engaged in sexually explicit
conduct, as defined in 18 U.S.C. § 2256 or relating to the sexual
exploitation of minors.
B. Information, correspondence, records, documents or other materials pertaining
to the possession, receipt or distribution of visual depictions of minors engaged in
sexually explicit conduct, as defined in 18 U.S.C. § 2256, or pertaining to the
sexual exploitation of minors or a sexual interest in children, that were
transmitted or received using computer, cellular device, personal digital assistant,
or some other facility or means of interstate or foreign commerce, common
carrier, or the U.S. mail including, but not limited to:

i. Correspondence including, but not limited to, electronic mail, chat logs,
and electronic messages, establishing possession, access to, or transmission
through interstate or foreign commerce, including by United States mail or
by computer, of visual depictions of minors engaged in sexually explicit
conduct, as defined in 18 U.S.C. § 2256 or relating to the sexual

exploitation of minors or a sexual interest in children;
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iii. Any and all electronic and/or digital records and/or documents
pertaining to the preparation, purchase, and acquisition of names or lists
ofnames to be used in connection with the purchase, sale, trade, or
transmission, through interstate commerce including by United States
mail or by computer, any visual depiction of a minor engaged in sexually
explicit conduct, as defined in Title 18, United States Code, Section
2256 or relating to the sexual exploitation of minors;

iv. Any and all electronic and/or digital records and/or documents including
any and all address books, names, and lists of names and addresses of
minors visually depicted while engaging in sexually explicit conduct,
defined in Title 18, United States Code, Section 2256; or relating to the
sexual exploitation of minors;

v. Any and all records of Internet usage including usernames and e-mail
addresses and identities assumed for the purposes of communication on the
Internet. These records may include billing and subscriber records, chat
room logs, e-mail messages, and include electronic files ina computer and
on other data storage mediums;

vi. Any physical keys, encryption devices, dongles and similar physical items

necessary to access computer equipment, storage devices or data;
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vii. Any passwords, password files, test keys, encryption codes or other
information necessary to access the computer equipment, storage
devices or data; and
viii. Files, records, programs, logs, electronic communications, scanning
programs, financial records, hacking software, or router configuration
software.
C. Records or other items which evidence ownership, use, or control of the Devices
described in Attachment A.
D. Credit card information including but not limited to bills and payment records,
including but not limited to records of internet access.
E. Any and all information, correspondence (including emails), records, documents
and/or other materials related to contacts, in whatever form, with minors involving the
production, possession and/or distribution of child pornography and the attempt or act of
educing, enticing, coercing, or persuading a minor to engage in sexual acts.
As used above, the terms “records” and “information” includes all forms of creation or
storage, including any form of computer or electronic storage.
The term “computer” includes all types of electronic, magnetic, optical, electrochemical,
or other high speed data processing devices performing logical, arithmetic, or storage
functions, including desktop computers, notebook computers, mobile phones, tablets, server

computers, and network hardware.
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The term “storage medium” includes any physical object upon which computer data can
be recorded, including external and internal hard drives, flash drives, thumb drives, micro
SD cards, macro SD cards, DVDs, gaming systems, SIM cards, cellular phones capable of
storage, floppy disks, compact discs, magnetic tapes, memory cards, memory chips, and

other magnetic or optical media.
